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                   Exhibit 09A
               Case 2:10-md-02179-CJB-DPC Document 8963-16 Filed 03/20/13 Page 2 of 3


Douglas, Charles W
From:                                 Moskowitz, Keith [keith.moskowitz@snrdenton.com]
Sent:                                 Tuesday, January 15, 2013 9:37 AM
To:                                   #DWH Settlement Team
Subject:                              FW: January 15, 2013 Policy Announcement
Attachments:                          BROWNGREER-#418993-v1-CA_Policy_Announcement-1-15-13.DOCX




Keith Moskowitz
SNR Denton US LLP
D +1 312 876 8220
M +1 312 758 9732                     233 South Wacker Drive
F +1 312 876 7934                     Suite 7800
keith.moskowitz@snrdenton.com         Chicago, IL 60606-6306
snrdenton.com


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From: Rebecca Foreman [mailto:rforeman@dheclaims.com] On Behalf Of Patrick Juneau
Sent: Tuesday, January 15, 2013 9:33 AM
To: Mark Holstein (Mark.Holstein@bp.com); Moskowitz, Keith; 'James Roy (jimr@wrightroy.com)' (jimr@wrightroy.com);
Steve Herman (SHERMAN@hhklawfirm.com)
Cc: Orran L. Brown; Lynn Greer (lgreer@browngreer.com); Michael J. Juneau (MJJ@juneaudavid.com)
(MJJ@juneaudavid.com); Christine Reitano
Subject: January 15, 2013 Policy Announcement




Gentlemen:

The Claims Administrator has thoroughly considered the submissions of both Parties regarding the proper
measurement of revenue and expenses for those BEL claimants with particularly variable revenues. This is an
issue that has particular relevance to claimants who are attorneys, construction companies or farming
enterprises. The Claims Administrator recognizes that the straightforward application of the Settlement
Agreement’s compensation formula to claimants in these industries can result in awards that appear
disproportionate when compared to award amounts for claimants in other industries. BP has proposed
alternative frameworks whereby claims within these industries would be carved out for additional analysis
and/or a revised analysis would be utilized to compute compensation for certain types of claims. The Claims
Administrator recognizes that the type frameworks proposed by BP constitute a reasonable approach to
evaluating such claims. But the Claims Administrator does not view it within his authority to carve out
specific types of claims in this fashion nor to apply a revised formula or analysis for selected types of
claimants. The specific charge to the Claims Administrator is to apply the terms of the Settlement Agreement
as written. When so applied in this instance, the result can be disproportionate awards for certain types of
claims. Though the Claims Administrator acknowledges that the type approach proposed by BP is a
reasonable one, he does not believe it within his authority to implement such an approach absent agreement of
the parties or express direction from the Court.
                                                                                  1
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Attached is the Claims Administrator’s Policy Announcement of January 15, 2013, which sets forth my policy
decision on this issue.




935 Gravier Street, Ste. 1905
New Orleans, LA 70112
pjuneau@dheclaims.com




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